                         UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF OHIO
                               CLEVELAND DIVISION

IN RE:                                             CASE NO: 19-12146

FRANK B RESTIFO, JR.                               IN PROCEEDINGS UNDER CHAPTER 7

       Debtor                                      JUDGE: JESSICA E. PRICE SMITH

                                                   MOTION OF NATIONSTAR
                                                   MORTGAGE LLC D/B/A MR. COOPER
                                                   FOR RELIEF FROM STAY AND
                                                   ABANDONMENT

                                                   (24620 Hawthorne Dr, Euclid, OH 44117)

       Nationstar Mortgage LLC d/b/a Mr. Cooper, (the "Movant") moves this Court, under

Bankruptcy Code §§ 361, 362, 363 and other sections of Title 11 of the United States Code, and

under Federal Rules of Bankruptcy Procedure 4001 and 6007, and under Local Bankruptcy Rule

4001-1 for an order conditioning, modifying or dissolving the automatic stay imposed by

Bankruptcy Code § 362 and for Abandonment of the Property under Bankruptcy Code 554.



                                MEMORANDUM IN SUPPORT

       1.       The Court has jurisdiction over this matter under 28 U.S.C. §§ 157 and 1334.

This is a core proceeding under 28 U.S.C. § 157 (b)(2). The venue of this case and this Motion

is proper under 28 U.S.C. §§ 1408 and 1409.

       2.       On April 25, 2016, the Debtor, Frank B. Restifo, Jr., obtained a loan from

CrossCountry Mortgage, Inc., a Corporation in the amount of $84,249.00. Such loan was

evidenced by a Promissory Note dated April 25, 2016 (the "Note"), a copy of which is attached

as Exhibit A.




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        3.      To secure payment of the Note and performance of the other terms contained in it,

the Debtor, Frank B. Restifo, Jr., and Cynthia Ann Restifo executed a Security Agreement in

favor of Mortgage Electronic Registration Systems, Inc., as nominee for CrossCountry

Mortgage, Inc. dated April 25, 2016 (the "Security Agreement"). The Security Agreement

granted a lien on the real property, 24620 Hawthorne Dr, Euclid, OH 44117 owned by Frank B.

Restifo, Jr.,, (the "Collateral"). The Collateral is more fully described in the Security Agreement

(check one):


                        attached as Exhibit B;

                        OR

                        contained in the Note, attached as Exhibit A.


        4.      The lien created by the Security Agreement was duly perfected by:

                        Filing of the Security Agreement in the office of the Cuyahoga County
                        Recorder on June 3, 2016.

                        Filing of the UCC-1 Financing Statement in the office of _____________
                        _________________________________________ on ______.

                        Notation of the lien on the Certificate of Title.

                        Other (state with particularity) __________________________________.

A copy of the recorded Security Agreement, UCC-1 Financing Statement, Certificate of Title or

other document, as applicable, is attached as Exhibit B. Based on the referral from the client

and information related to the title to the real estate, the lien is the first and best lien on the

Collateral.

        5.      The entity in possession of the original Note as of the date of this motion is

Nationstar Mortgage LLC d/b/a Mr. Cooper, 8950 Cypress Waters Blvd, Coppell, Texas 75019.




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      6.       The entity servicing the loan is: Nationstar Mortgage LLC d/b/a Mr. Cooper.

      7.       The note was transferred, as evidenced by the following:

               a.      If the Collateral is real estate:

                     i.        Under Uniform Commercial Code § 3-203(a) as applicable under
                               state law in effect where the property is located, from the original
                               lender (check only one):

                                       N/A.

                                       OR

                                       By endorsement on the Note,
                                       payable to ______________________________________.

                                       OR

                                       By blank endorsement on the Note

                                       OR

                                       By allonge attached to the Note,
                                       payable to ______________________________________.

                                       OR

                                       By blank allonge, attached to the Note.

                                       OR

                                       The Note is not endorsed to the Movant, or is not endorsed
                                       in blank with an allegation that the Movant is in possession
                                       of the original Note. The factual and legal basis upon
                                       which the Movant is entitled to bring this motion is
                                       (explain with particularity and attach supporting
                                       documentation):


                                       OR

                                       By endorsement on the Note or by allonge attached to the
                                       Note, through a power of attorney. If this box is checked, a
                                       copy of the power of attorney is attached as Exhibit ____.




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                                       Explain why it provides Movant the authority to endorse
                                       the Note:


                    ii.        Under Uniform Commercial Code § 3-203(a) as applicable under
                               state law in effect where the property is located, from
                               _________________________ to _________________________

                    iii.       A court has already determined that Movant has the ability to
                               enforce the Note with a judgment dated ____________________
                               in the ___________________________. A copy of the judgment
                               is attached at Exhibit ____

                    iv.        Other __________________________________ [explain].

       b.      If the Collateral is not real estate (check one):

                               N/A

                               OR

                               From the original lender to _________________ by ___________
                               ____________________________________________________

       8.      The Security Agreement was transferred as follows (check one):

                               N/A

                               OR


                               From the original lender, mortgagee, or mortgagee’s nominee on
                               May 14, 2019 to Nationstar Mortgage LLC d/b/a Mr. Cooper.
                               The transfer is evidenced by the document(s) attached to this
                               Motion as Exhibit C.

       9.      The value of the Collateral is $93,900.00. This valuation is based on the fair

market value as determined by the Cuyahoga County Auditor.

       10.     As of May 29, 2019, there is currently due and owing on the Note the outstanding

balance of $87,009.85, plus interest accruing thereon at a rate of 4.38% per annum [$10.28 per




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day] from February 1, 2019, as described in more detail on the worksheet. The total provided in

this paragraph cannot be relied upon as a payoff quotation.

       11.     The amount due and owing on the Note as set forth in paragraph 10 does not

include a credit for the sum held in suspense account by the Movant.

       12.     Other parties known to have an interest in the Collateral besides the Debtor, the

Movant, and the trustee are (check all that apply):

                               N/A

                               The Cuyahoga County Treasurer, for real estate taxes.

                               Spouse of Owner, Cynthia Restifo
                               ___________________________ in the amount of $________


       13.     The Movant is entitled to relief from the automatic stay under Bankruptcy Code

§ 362(d) for these reason(s) (check all that apply):

                       Debtor has failed to provide adequate protection for the lien held by the
                       Movant for these reasons: _________                                 .

                       Debtor has failed to keep the Collateral insured as required by the Security
                       Agreement.

                       Debtor has failed to keep current the real estate taxes owed on the
                       Collateral.

                       Debtor has failed to make periodic payments to Movant for the months of
                       March 1, 2019 to May 1, 2019, which unpaid payments are in the
                       aggregate amount of $2,597.09 through May 29, 2019. The total provided
                       in this paragraph cannot be relied upon as a reinstatement quotation.

                     Other cause (set forth with specificity): _________________________
       14.     Movant has completed the worksheet attached as Exhibit D.

       15.     Movant is entitled to an order directing the trustee to abandon the Collateral under

11 U.S.C. §554(b) for these reasons (check all that apply):

                       The Collateral is burdensome to the estate because




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                      ____________________________________________________________

                       The Collateral is of inconsequential value and benefit to the estate because
               upon liquidation of the Collateral no proceeds will remain for the benefit of the
               estate.

      WHEREFORE, Movant prays for an Order from the Court

               (a)    granting Movant relief from the automatic stay of Bankruptcy Code § 362
                      to permit Movant to proceed under applicable nonbankruptcy law; AND

               (b)    AUTHORIZING AND DIRECTING THE CHAPTER 7 TRUSTEE TO
                      ABANDON THE COLLATERAL UNDER BANKRUPTCY CODE
                      § 554.

                                            Respectfully Submitted,

                                            /s/ Chris E. Manolis
                                            Shapiro, Van Ess, Phillips & Barragate, LLP
                                            Chris E. Manolis (OH-0076197)
                                            4805 Montgomery Road, Suite 320
                                            Norwood, OH 45212
                                            Phone: (216) 373-3117
                                            Fax: (847) 627-8805
                                            Email: cmanolis@logs.com

Attached are redacted copies of any documents that support the claim, such as promissory
notes, purchase order, invoices, itemized statements of running accounts, contracts,
judgments, mortgages, and security agreements in support of right to seek a lift of the
automatic stay and foreclose if necessary.




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                                          ADDENDUM

Nationstar Mortgage LLC d/b/a Mr. Cooper services the loan on the Property referenced in this
Motion. In the event the automatic stay in this case is modified, this case dismisses, and/or the
Debtor obtains a discharge and a foreclosure action is commenced on the mortgaged property,
the foreclosure will be conducted in the name of Movant. Movant, directly or through an agent,
has possession of the promissory note. Movant is the original mortgagee or beneficiary or the
assignee of the Mortgage.

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                                CERTIFICATE OF SERVICE

       The undersigned does hereby certify that on the 30th day of May, 2019, a copy of the
foregoing was served to the following:

Via the Court’s Electronic Case Filing System on these entities and individuals who are listed on
the Court's Electronic Mail Notice List:

       Anna Marie Wall, Rauser & Associates, on behalf of Frank Restifo, debtor(s), at
       awall@ohiolegalclinic.com

       Virgil E Brown, Jr, on behalf of the Chapter 7 Trustee’s office at virgil@vebtrustee.com,
       vbrownjr@ecf.axosfs.com

       United States Trustee at Registered address @usdoj.gov

And by regular U.S. mail, postage prepaid, on:

       Frank Restifo, 2047 Fairview Ave Apt 1 Cleveland, OH 44106

       Cynthia Ann Restifo, 2047 Fairview Ave Apt 1 Cleveland, OH 44106

       Christopher Murray, 2079 East 9th St., Cleveland, OH 44115


                                             /s/ Chris E. Manolis
                                             Shapiro, Van Ess, Phillips & Barragate, LLP
                                             Chris E. Manolis (OH-0076197)
                                             4805 Montgomery Road, Suite 320
                                             Norwood, OH 45212
                                             Phone: (216) 373-3117
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                                      EXHIBIT D

                       UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF OHIO
                             CLEVELAND DIVISION

IN RE:                                        CASE NO: 19-12146

FRANK B RESTIFO, JR.                          IN PROCEEDINGS UNDER CHAPTER 7

      Debtor                                  JUDGE: JESSICA E. PRICE SMITH

                                              NATIONSTAR MORTGAGE LLC D/B/A
                                              MR. COOPER’S RELIEF FROM STAY
                                              AND ABANDONMENT WORKSHEET



1.    LOAN DATA

      A.       IDENTIFICATION OF COLLATERAL (check all that apply):

                     Real Estate 24620 Hawthorne Dr, Euclid, OH 44117
                            Principal Residence of Debtor
                            Other
                     Personal Property ____________________________________________
                     Debtor(s) Chapter 13 Plan provides for surrender of the Collateral.
                     Other _____________________________________________________

      B.       CURRENT VALUE OF COLLATERAL: $93,900.00

      C.       SOURCE OF COLLATERAL VAULATION: Cuyahoga County Auditor’s Office

      D.       ORIGINAL LENDER: CrossCountry Mortgage, Inc., a Corporation

      E.       ENTITY ENTITLED TO ENFORCE THE NOTE: Nationstar Mortgage LLC d/b/a Mr.
               Cooper

      F.       CURRENT LOAN SERVICER: Nationstar Mortgage LLC d/b/a Mr. Cooper

      G.       DATE OF LOAN: April 25, 2016

      H.       ORIGINAL PRINCIPAL AMOUNT DUE UNDER NOTE: $84,249.00

      I.       ORIGINAL INTEREST RATE ON NOTE: 3.875%

      J.       CURRENT INTEREST RATE: 4.38%




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      K.       ORIGINAL MONTHLY PAYMENT AMOUNT
               (principal and interest only for mortgage loans): $396.17

      L.       CURRENT MONTHLY PAYMENT AMOUNT: $861.95

      M.       THE CURRENT MONTHLY PAYMENT AMOUNT LISTED ABOVE:

                       Includes an escrow amount of $__________ for real estate taxes.
                       Includes an escrow amount of $__________ for property insurance.
                       Includes an escrow amount of $__________ for _______________
                       Includes an escrow amount of $423.30.
                       Does not include any escrow amount

      N.       DATE LAST PAYMENT RECEIVED: February 16, 2019

      O.       AMOUNT OF LAST PAYMENT RECEIVED: $867.57

      P.       AMOUNT HELD IN SUSPENSE ACCOUNT: $0.00

      Q.       NUMBER OF PAYMENTS PAST DUE: 3

2.    AMOUNT ALLEGED TO BE DUE AS OF MAY 29, 2019

               Description of Charge                  Total Amount    Number of     Date
                                                      of Charges      Charges       Charges
                                                                      Incurred      Incurred
        A.     PRINCIPAL                                 $85,783.70
        B.     INTEREST                                   $1,226.15
        C.     TAXES                                          $0.00
        D.     INSURANCE                                      $0.00
        E.     LATE FEES                                      $0.00
        F.     NON-SUFFICIENT FUNDS FEES                      $0.00
        G.     PAY BY PHONE FEES                              $0.00
        H.     BROKER PRICE OPINIONS                          $0.00
        I.     FORCE-PLACED INSURANCE                         $0.00
        J.     PROPERTY INSPECTIONS                           $0.00
        K.     OTHER CHARGES                                  $0.00
               (describe in detail and state
               contractual basis for recovering the
               amount from the debtor):




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       TOTAL DEBT:                                                $87,009.85

       LESS AMOUNT HELD IN SUSPENSE:                                   $0.00

       TOTAL DUE AS OF MAY 29, 2019:                              $87,009.85
       *This total cannot be relied upon as a payoff quotation.


This Worksheet was prepared by:


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EXHIBIT A




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                                                          EXHIBIT B




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